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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                            PLAINTIFF

v.                                   No. 4:07CR00142-02 JLH

STEPHANIE TAGGART                                                                 DEFENDANT


                                           ORDER

       The government has filed a Motion to Dismiss Indictment as to defendant Stephanie Taggart.

The motion is GRANTED. Docket #59. The indictment is dismissed without prejudice as to

defendant Stephanie Taggart.

       IT IS SO ORDERED this 24th day of July, 2008.




                                            _________________________________
                                            J. LEON HOLMES
                                            UNITED STATES DISTRICT JUDGE
